Case 2:97-cr-20235-.]PI\/| Document 281 Filed 08/04/05 Page 1 of 3 Page|D 121
IN THE UNITED STATES DISTRICT COURT [
U`r",'|._.,...~_\~. U~O-

FOR THE WESTERN DISTRICT OF TENNE§§§!];'J
WESTERN DIVISION `

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UNrrED sTATEs oF AMERICA ) CR. NQLE§)Q@za¢M`€GURT
Plaimiff, ) 97-20236-M1
) 97-20237-M1
vs ) 97-20238_M1
) 97-20239-M1
EDDIE JETER ) 97-20240-1\/11
) 97-20241-M1
Dct`endant. ) 05-20014-M1

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The dcfendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI-MEMPHIS
(SCP), 1101 John A. Denie Road, Memphis, TN 38138 by 2:00 P.M., *TUE_SDAY.. SEPTEMBER
§,M

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Offlce Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the g/ day of August, 2005.

112 itt dd

JO PHIPPS McCALLA
U TED STATES DISTRICT JUDGE

  

This document entered on the docket Sheet in c_r)/mp|iance
with sole ea ann/or 32(b) FRch on '?)'0.5

    

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Del`endant

UNITED `sTATES DISTRICT COURT - WESTERN D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 281 in
case 2:97-CR-20235 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Carroll L. Andre

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Honorable J on McCalla
US DISTRICT COURT

